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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 MARC ROTENBERG,

                            Plaintiff,
                                                          Case No. 1:21-cv-00903-TSC
 v.
                                                          Hon. Judge Tanya S. Chutkan
 POLITICO LLC, and
 PROTOCOL MEDIA, LLC

                            Defendants.


                       PLAINTIFF’S MOTION FOR JUDICIAL NOTICE

          Plaintiff Marc Rotenberg respectfully moves the Court to take judicial notice of the fact

that defendant Politico has entered into an agreement to be acquired by the Berlin-based media

company Axel Springer SE. See Business Wire, “Axel Springer to Acquire POLITICO” (Aug. 26,

2021),           https://www.businesswire.com/news/home/20210826005451/en/Axel-Springer-to-

Acquire-POLITICO. This fact is not in dispute and is relevant to both Plaintiff’s opposition to

Defendants’ motion to dismiss and Plaintiff’s motion for jurisdictional discovery. Fed. R. Evid.

201(b).

          Attached as Exhibit 1 is a press release, dated August 26, 2021, issued by Defendant

Politico and Axel Springer, stating that Axel Springer had “signed an agreement to acquire

POLITICO” and that “closing of the transaction is expected in Q4 2021.”

          Pursuant to Local Rule 7(c), a proposed order granting the relief requested in this motion

is attached as Exhibit 2.

          Pursuant to Local Rule 7(m), undersigned counsel certifies that he communicated with

counsel for Defendants, who advised that Defendants oppose the relief requested in this motion.



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       Accordingly, Plaintiff respectfully requests that the Court take judicial notice of the press

release described above. Fed. R. Evid. 201(c)(2).



Date: August 31, 2021                                Respectfully submitted,

                                                     IFRAH PLLC

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